             Case 2:13-cr-00106-DOC Document 461 Filed 06/28/19 Page 1 of 6 Page ID #:5962
                                                         United States District Court
                                                         Central District of California
                                                            **AMENDED 6/28/19**
 UNITED STATES OF AMERICA vs.                                                Docket No.             CR 13-0106-DOC

                      MONGOL NATION, AN
                      UNINCORPORATED
 Defendant            ASSOCIATION                                            Social Security No. N          O     N     E
       Mongols Nation Motorcycle Club, Inc.: CA Entity
       No.: C3181302 (dissolved)
       Mongols Nation Motorcycle Club LLC: CA Entity
                                                                             (Last 4 digits)
       No.: 201211710181
       Mongols Nation Motorcycle Club: CA Entity No.
 akas: C3686815

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH    DAY    YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         05       17     2019

 COUNSEL                                            Joseph A. Yanny, Retained; Stephen Stubbs, Retained
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                                CONTENDERE             GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

  FINDING             Count 1s, 18 U.S.C. § 1962 (c): Racketeering and Count 2s, 18 U.S.C. § 1962 (d): Racketeering
                      Conspiracy of the First Superseding Indictment. All remaining counts are DISMISSED by motion of the
                      Government.

JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER               the custody of the Bureau of Prisons to be imprisoned for a term of: Probation

      It is ordered that the defendant organization shall pay to the United States a special assessment of $800, which is
due immediately.

        It is ordered that the defendant organization shall pay to the United States a total fine of $500,000, consisting of
the following: Count One, a fine of $250,000; Count Two, a fine of $250,000. The total fine shall bear interest as provided
by law.

        The fine shall be paid in monthly installments of at least $8,475 during the term of probation. These payments
shall begin 30 days after the date of this judgment.

       The Court has found that the property identified in the preliminary order of forfeiture is subject to forfeiture. The
preliminary order is incorporated by reference into this judgment and is final.




CR-104 (docx 10/18)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                  Page 1 of 6
              Case 2:13-cr-00106-DOC Document 461 Filed 06/28/19 Page 2 of 6 Page ID #:5963

 USA vs.       MONGOL NATION, AN UNINCORPORATED
               ASSOCIATION                                               Docket No.:   CR 13-0106-DOC

        Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant organization,
Mongol Nation, an unincorporated association, is hereby placed on probation on Counts One and Two of the First
Superseding Indictment for a term of five years. This term consists of five years on each of Counts One and Two of the
First Superseding Indictment, all such terms to run concurrently under the following terms and conditions:

         1.           As General Order 18-10 applies to individuals, it shall be deleted from the original Court order.

         2.           During the period of community supervision, the defendant Mongol Nation, an unincorporated
                      association, shall pay the special assessment and fine in accordance with this judgment's orders pertaining
                      to such payment.

         3.           The defendant Mongol Nation, an unincorporated association, shall not commit another federal, state or
                      local crime.

         4.           The defendant Mongol Nation, an unincorporated association, shall provide the Probation Officer access
                      to any requested financial information.

         5.           Within 30 days from the date of this judgment, the defendant Mongol Nation, an unincorporated
                      association, shall designate an official of the organization to act as the organization’s representative and
                      to be the primary contact with the Probation Officer.

         6.           The defendant Mongol Nation, an unincorporated association, shall answer truthfully all inquiries by the
                      Probation Officer and follow the instructions of the Probation Officer.

         7.           The defendant Mongol Nation, an unincorporated association, shall notify the Probation Officer ten days
                      prior to any change in the principal business or mailing address or within 72 hours if advance notice is not
                      possible.

         8.           The defendant Mongol Nation, an unincorporated association, shall permit a Probation Officer to visit the
                      organization at any of its operating business sites.

         9.           The defendant Mongol Nation, an unincorporated association, shall report to the Probation Officer as
                      directed and shall submit a truthful and complete written report within the first five days of each month.

         10.          The defendant Mongol Nation, an unincorporated association, shall be required to notify the Court or
                      Probation Officer immediately upon learning of (A) any material adverse change in its business or
                      financial condition or prospects, or (B) the commencement of any bankruptcy proceeding, major civil
                      litigation, criminal prosecution, or administrative proceeding against the organization, or any investigation
                      or formal inquiry by government authorities regarding the organization.

         11.          The defendant Mongol Nation, an unincorporated association, shall notify the Probation Officer
                      immediately of any intent to sell the organization, change the name of the organization, merge with another
                      business entity, or otherwise dissolve and/or modify, in any form or manner, the organizational structure
                      from its present status.

         12.          The defendant Mongol Nation, an unincorporated association, shall apply all monies received from
                      income tax refunds to the outstanding Court-ordered financial obligation. In addition, the defendant

CR-104 (docx 10/18)                            JUDGMENT & PROBATION/COMMITMENT ORDER                                       Page 2 of 6
             Case 2:13-cr-00106-DOC Document 461 Filed 06/28/19 Page 3 of 6 Page ID #:5964

 USA vs.       MONGOL NATION, AN UNINCORPORATED
               ASSOCIATION                                                 Docket No.:    CR 13-0106-DOC

                      organization shall apply all monies received from lottery winnings, inheritance, judgments and any
                      anticipated or unexpected financial gains to the outstanding Court-ordered financial obligation.

         13.          The Mother Chapter location of defendant Mongol Nation, an unincorporated association, shall submit to
                      search and seizure at any time of the day or night by any law enforcement officer with or without a warrant
                      and with or without reasonable or probable cause. Such search and seizure shall occur at the Mother
                      Chapter’s principal operating business site located in West Covina, California, as identified by the
                      Government in the First Superseding Indictment. The United States shall disclose this address in West
                      Covina, California, to the United States Probation & Pretrial Services Office.

         14.          The defendant Mongol Nation, an unincorporated association, shall not possess any illegal firearm,
                      explosive device, or other dangerous weapon, as defined by federal, state, or local law.

                      Defendant Mongol Nation, an unincorporated association, advised of right to appeal.


 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            June 28, 2019
            Date                                                DAVID O. CARTER, U. S. District Judge
 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or
 other qualified officer.

                                                                Clerk, U.S. District Court




            June 28, 2019                                 By    Deborah Lewman
            Filed Date                                          Deputy Clerk




CR-104 (docx 10/18)                           JUDGMENT & PROBATION/COMMITMENT ORDER                                               Page 3 of 6
             Case 2:13-cr-00106-DOC Document 461 Filed 06/28/19 Page 4 of 6 Page ID #:5965

 USA vs.      MONGOL NATION, AN UNINCORPORATED
              ASSOCIATION                                                            Docket No.:     CR 13-0106-DOC



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a               any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                    family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
       court or probation officer;                                                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change            ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                 13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    As directed by the probation officer, the defendant must notify
       observed in plain view by the probation officer;                                specific persons and organizations of specific risks posed by the
 8.    The defendant must work at a lawful occupation unless excused by                defendant to those persons and organizations and must permit the
       the probation officer for schooling, training, or other acceptable              probation officer to confirm the defendant’s compliance with such
       reasons and must notify the probation officer at least ten days before          requirement and to make such notifications;
       any change in employment or within 72 hours of an unanticipated          15.    The defendant must follow the instructions of the probation officer
       change;                                                                         to implement the orders of the court, afford adequate deterrence from
                                                                                       criminal conduct, protect the public from further crimes of the
                                                                                       defendant; and provide the defendant with needed educational or
                                                                                       vocational training, medical care, or other correctional treatment in
                                                                                       the most effective manner.




CR-104 (docx 10/18)                                  JUDGMENT & PROBATION/COMMITMENT ORDER                                                         Page 4 of 6
             Case 2:13-cr-00106-DOC Document 461 Filed 06/28/19 Page 5 of 6 Page ID #:5966

 USA vs.      MONGOL NATION, AN UNINCORPORATED
              ASSOCIATION                                                        Docket No.:     CR 13-0106-DOC



      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

          The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
 including any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (docx 10/18)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 6
             Case 2:13-cr-00106-DOC Document 461 Filed 06/28/19 Page 6 of 6 Page ID #:5967

 USA vs.      MONGOL NATION, AN UNINCORPORATED
              ASSOCIATION                                                       Docket No.:       CR 13-0106-DOC



                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal




                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




CR-104 (docx 10/18)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 6
